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A Limited Liability Law Company

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Attorneys for Defendant
TARGET CORPORATION

               IN THE UNITED STATES DISTRICT COURT

                              STATE OF HAWAI`I

LYDIA H. SADAOKA,                       CASE NO. __________________

                 Plaintiff,
                                        DEFENDANT TARGET
   vs.                                  CORPORATION’S NOTICE OF
                                        REMOVAL TO THE UNITED
TARGET CORPORATION, a foreign           STATES DISTRICT COURT;
profit corporation; JOHN DOES 1-10;     EXHIBITS “A” – “B”;
JANE DOES 1-10; DOE                     CERTIFICATE OF SERVICE
CORPORATIONS 1-10; DOE
PARTNERSHIPS 1-10; and DOE
GOVERNMENTAL ENTITIES 1-10,

                 Defendants.
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              DEFENDANT TARGET CORPORATION’S
   NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

      PLEASE TAKE NOTICE that Defendant TARGET CORPORATION

(“Target”), by and through its attorneys, YOSHIMOTO LAW GROUP, LLLC,

hereby removes the action entitled, Lydia H. Sadaoka v. Target Corporation, etc., et

al., Civil No. 1CCV-XX-XXXXXXX filed in the Circuit Court of the First Circuit, State

of Hawaii to the United States District Court for the District of Hawai‘i (hereinafter

the “State Court Action”), pursuant to 28 U.S.C. §§ 1441 and 1446. Target’s Notice

of Removal is based on the following:

                           Relevant Procedural History

      1.     On July 16, 2021, Plaintiff LYDIA H. SADAOKA (hereinafter

“Plaintiff”) filed her “Complaint, Summons (referred to as the “Complaint”) against

Defendant Target Corporation (“Target”) in the State Court Action. A true and

correct copy of the Complaint is attached hereto as Exhibit “A.”

      2.     The Complaint alleges that on or about July 22, 2020, Plaintiff tripped

and fell on a non-working escalator. Id. at ¶ 7.

      3.     The Complaint goes on to generally allege that the conduct of

Defendant Target was negligent. Id. at ¶¶ 8-9.

      4.     Target was served by personal service of the Complaint on its agent for

service of process on August 5, 2021.
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      5.      Target Answered the Complaint on August 25, 2021. A true and correct

copy is attached hereto as Exhibit “B” is Target’s Answer to the Complaint.

                         Grounds for Removal - Diversity

      6.      This is a civil action over which this Court has original jurisdiction

under the provisions of 28 U.S.C. § 1332, and may be removed to this Court by the

defendants pursuant to the provisions of 28 U.S.C. § 1441(a) because it is a civil

action between citizens of different states and it appears from the face of the

Complaint that the matter in controversy herein exceeds the sum or value of Seventy-

Five Thousand Dollars ($75,000.00), exclusive of interest and costs.

                             Complete Diversity Exists

      7.      At the time of filing of the Complaint and this Notice of Removal,

Plaintiff was a resident of the City and County of Honolulu, State of Hawaii. See

Exhibit “A” at ¶ 1.

      8.      Target was, at the time the State Court Action was filed, and still is, a

foreign corporation duly organized and existing under the laws of the State of

Minnesota. See Exhibit “A” ¶ 2; see also Exhibit “B” at ¶ 4 (wherein Target

admits that it is a retail store chain incorporated and formed in Minneapolis,

Minnesota).

      9.      Target’s principal place of business is also in the State of Minnesota.

      10.     Thus, complete diversity exists pursuant to 28 U.S.C. § 1332.
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               The Amount In Controversy Requirement Is Satisfied

         11.   Target is informed and believes from the face of the Complaint that the

amount in controversy in this action exceeds $75,000, exclusive of interests and

costs.

         12.   Although the Complaint is silent on the exact amount in controversy,

in paragraph 7 of the Complaint, Plaintiff Lydia H. Sadaoka alleges that she

sustained “serious injuries.” See Exhibit “A” at ¶ 7.

         13.   Thus, Target is informed and believes that the amount in controversy

in this action exceeds $75,000.00 as required by 28 U.S.C. § 1332.

                        Compliance With Removal Procedure

         14.   This Notice of Removal is being filed within thirty (30) days after

service of receipt by the Defendant (on August 5, 2021) of the initial pleading setting

forth the claims for relief upon which Plaintiff’s action is based. Therefore, this

Notice is timely filed under 28 U.S.C. § 1446(b).

         15.   This Notice of Removal is being filed within one (1) year of the

commencement of this action (on July 16, 2021) and therefore is timely filed under

28 U.S.C. § 1446(b).

         16.   Removal to this Court is proper as the Circuit Court of the First Circuit,

State of Hawaii, where this action was originally filed, is located within the District.
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      17.    Pursuant to 28 U.S.C. § 1446(a), and to the best of Target’s knowledge,

Exhibit “A” constitutes all of the process, pleadings and orders served upon Target

at the time of this removal.

      18.    Counsel for Target certifies that it will file a copy of this Notice of

Removal with the Clerk of the Circuit Court of the First Circuit, State of Hawaii,

and give notice of same to counsel for Plaintiff.

                               Preservation of Defenses

      19.    By filing this Notice of Removal, Target does not waive any defense

which may be available to it.

      DATED: Honolulu, Hawaii, August 26, 2021.


YOSHIMOTO LAW GROUP                         /s/ Donna A.O. Yoshimoto
A Limited Liability Law Company          DONNA A. O. YOSHIMOTO
                                         JASON H. FIEMAN
                                         Attorneys for Defendant
                                         TARGET CORPORATION
